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& Outlo AS€ 2:23-CV-12886-SFC-EAS ECF No. 37-23, PagelD.1627 Filed 10/07/24 Page 2 of 2

RE: Update on Case Settlement and Change in Representation

From Davina A. Bridges <DBridges@dickinson-wright.com>
Date Fri 4/26/2024 11:09 AM
To Katrina Bergunder <bergunki@msn.com>

As indicated in my correspondence below, a motion to proceed pro se is unnecessary as you are already representing yourself.

As it appears that your sole purpose is to continue to delay this matter, proceed as you wish. Enjoy your day.

D Davina A. Bridges
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